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           IN THE UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF MINNESOTA


 Jayme Prokes; Randall C. Eason; and            Case No. 0:18-cv-2384-SRN-ECW
 Thomas P. Piekarski, on behalf of
 themselves and others similarly situated,

                       Plaintiff,

 v.

 American Federation of State,
 County, and Municipal Employees,
 Council No. 5; American Federation
                                                Plaintiffs’ First Amended
 of State, County, and Municipal
                                                Class-Action Complaint
 Employees, Council No. 5, Local
 2440, and American Federation of
 State, County, and Municipal
 Employees, Council No. 5, Local 221,
 as representatives of the class of all
 chapters and affiliates of the American
 Federation of State, County, and
 Municipal Employees, Council No. 5;
 American Federation of State,
 County, and Municipal Employees,

                       Defendants.



      Jayme Prokes, Randall C. Eason, and Thomas P. Piekarski are members or former
member of the American Federation of State, County, and Municipal Employees,
Council No. 5 (AFSCME Council 5). They bring this class action on behalf of them-
selves and others similarly situated, seeking redress for the defendants’ past and on-
going violations of her constitutionally protected rights.

                        JURISDICTION AND VENUE
      1.   The Court has subject-matter jurisdiction under 28 U.S.C. § 1331, 28
U.S.C. § 1343, and 28 U.S.C. § 1367.




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    2.   Venue is proper because a substantial part of the events giving rise to the
claims occurred in the district of Minnesota. See 28 U.S.C. § 1391(b)(2).

                                     PARTIES
    3.   Plaintiff Jayme Prokes resides in Le Sueur County, Minnesota.
    4.   Plaintiff Randall C. Eason resides in Anoka County, Minnesota.
    5.   Plaintiff Thomas P. Piekarski resides in Dakota County, Minnesota.
    6.   Defendant American Federation of State, County, and Municipal Employ-
ees, Council No. 5 (AFSCME Council 5) is a labor union whose headquarters are
located at 300 Hardman Avenue South, South St. Paul, Minnesota 55075.
    7.   Defendant American Federation of State, County, and Municipal Employ-
ees, Council No. 5, Local 2440 (Local 2440) is a local union chapter affiliated with
AFSCME Council 5. Its offices are located at 200 4th Avenue West Shakopee, Min-
nesota 55379. It is sued, along with American Federation of State, County, and Mu-
nicipal Employees, Council No. 5, Local 221, as representative of the class of all chap-
ters and affiliates of AFSCME Council No. 5.
    8.   Defendant American Federation of State, County, and Municipal Employ-
ees, Council No. 5, Local 221 (Local 221) is a local union chapter affiliated with
AFSCME Council 5. Its offices are located at 300 Hardman Avenue, South
South St. Paul, Minnesota 55075. It is sued, along with American Federation of State,
County, and Municipal Employees, Council No. 5, Local 2440, as representative of
the class of all chapters and affiliates of AFSCME Council No. 5.
    9.   Defendant American Federation of State, County, and Municipal Employees
(AFSCME) is a labor union whose headquarters are located at 1625 L Street, NW,
Washington, D.C. 20036-5687. AFSCME is affiliated with AFSCME Council No. 5.




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                           STATEMENT OF FACTS
    10. Plaintiff Jayme Prokes is a Financial Assistance Specialist for Scott County
Health and Human Services. She has held this job since April 16, 2018. Ms. Prokes
works in a bargaining unit represented by Local 2440.
    11. Plaintiff Randy Eason is employed by the Minnesota Department of Trans-
portation. Mr. Eason works in a bargaining unit represented by Local 221.
    12. Plaintiff Thomas Piekarski is employed by the Minnesota Department of
Transportation. Mr. Piekarski works in a bargaining unit represented by Local 221.

    13. Before the Supreme Court’s ruling in Janus v. American Federation of State,
County, and Municipal Employees, Council 31, 138 S. Ct. 2448 (2018), each of the
plaintiffs worked in an “agency shop,” where they were forced to either join AFSCME
Council 5 and pay full membership dues, or else pay “fair-share fees” to the union as

a condition of their employment. See, e.g., Agreement Between the County of Scott
and American Federation of State, County, and Municipal Employees, Council No.
5, Local 2440, article 4, § 1(B) (attached as Exhibit 2).
    14. The law of Minnesota authorized AFSCME Council 5 and its affiliates to
collect payments from non-union members at the time of the plaintiffs’ employment.
See Minn. Stat. § 179A.06(3) (attached to the complaint as Exhibit 1).
1. Jayme Prokes
    15. Ms. Prokes opposed and continues to oppose the payment of dues to
AFSCME Council 5. Nevertheless, she chose to remain in the union because she
would have been forced to pay “fair-share fees” had she resigned, and the difference
in money between the full membership dues and the “fair-share fees” would not have
been worth the loss of her vote and whatever little influence she might have been able
to assert in collective-bargaining matters.
    16.   After the Supreme Court’s ruling in Janus, Ms. Prokes resigned her union
membership and demanded that the union stop all union-related payroll deductions.



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    17. On July 13, 2018, Ms. Prokes sent a resignation letter to AFSCME Council
5’s headquarters by certified mail, return receipt requested. The letter stated:

       Effective immediately, I resign membership in all levels of the union.

       As a nonmember, I request that you immediately cease deducting all
       dues, fees, and political contributions from my wages, as is my consti-
       tutional right in light of the U.S. Supreme Court’s ruling in Janus v.
       AFSCME. . . .

       Furthermore, I request that you promptly provide me with a copy of
       any dues deduction authorization — written, electronic, or oral — the
       union has on file for me.

       I trust that you will act promptly to properly observe my constitutional
       rights.
See Exhibit 3. An unsigned copy of Ms. Prokes’s resignation is attached as Exhibit 3
to this complaint.
    18. The return receipt indicates that the union received Ms. Prokes’s resignation
letter on July 16, 2018. See Exhibit 4.
    19. The USPS tracking app on Ms. Prokes’s iPhone shows that the post office
delivered Ms. Prokes’s resignation letter to union headquarters on July 16, 2018, at
11:26 a.m. central time. See Exhibit 5.

    20. The union refused to honor Ms. Prokes’s resignation letter or instructions.
When Ms. Prokes received her next paycheck on July 27, 2018, the union was still
taking membership dues from her wages. See Exhibit 6.
    21. On July 27, 2018, Ms. Prokes e-mailed Lisa Fettig at the Payroll Depart-
ment of Scott County, and asked why the county was continuing to deduct union
dues from her paycheck. Ms. Prokes attached a copy of the resignation letter that she
had sent to the union by certified mail, and she informed Ms. Fettig that her resigna-
tion letter had been mailed to AFSCME Council 5 “approximately 2 weeks ago.” See
Exhibit 7.




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    22. Ms. Fettig then e-mailed Ms. Prokes and said: “Jayme — We have not re-
ceived anything yet. I think you should call them. The last person that sent a similar
letter to your called them and within a few days we had a e-mail advising us to the
stop the deduction.” See Exhibit 7.
    23. On July 30, 2018, union representative Kurt Erickson called Ms. Prokes to
explain why the union was continuing to take membership dues from her paycheck.
Mr. Erickson informed Ms. Prokes that she had signed a “Maintenance of Dues”
agreement in 2016 — and he claimed that this agreement forbids Ms. Prokes to resign
her membership and stop the payment of dues unless she does so during a 15-day
“opt-out window” that runs from January 3, 2019, through January 18, 2019.
    24. In 2016, when Ms. Prokes supposedly signed this “Maintenance of Dues”
agreement, she was employed by the Minnesota Department of Corrections under a
collective-bargaining agreement negotiated by AFSCME Council 5.
    25. Mr. Erickson told Ms. Prokes that the “Maintenance of Dues” agreement
that she signed while working for the Minnesota Department of Corrections carried
over to her new job at Scott County Health and Human Services — even though Ms.

Prokes had quit that job nearly two years ago and worked at several non-union jobs
before starting work at with Scott County Health and Human Services on April 16,

2018.
    26. On August 14, 2018, Ms. Prokes filed suit against AFSCME Council 5 and
Local 2440, seeking an injunction and punitive damages for their illegal garnishment
of her wages. See Original Complaint (ECF No. 1), at ¶¶ 18–37.
    27. On August 26, 2018, counsel for Ms. Prokes e-mailed the unions’ lawyers
and asked for a meet-and-confer session regarding motions for preliminary injunction
and class certification that Ms. Prokes intended to file that would stop the unions
from tapping her paycheck.




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    28. On August 27, 2018, counsel for the unions replied by e-mail and wrote:
“We are still in the process of investigating the underlying facts in this case, which we
need to continue to do before we can participate in an informed meet-and-confer with
you about Ms. Prokes’ putative motions for a preliminary injunction and for class
certification. We expect to have a better grasp of the facts in the next couple of days,
at which point we will circle back with you to set up a meet-and-confer pursuant to
L.R. 7.1(a).”
    29. On August 31, 2018, counsel for the unions e-mailed a letter to Ms.
Prokes’s attorney that said:

       Based on our review of the underlying facts and circumstances pertain-
       ing to Ms. Prokes’ employment history and her membership in
       AFSCME Council 5, it was an error not to inform Ms. Prokes’ em-
       ployer, Scott County Health and Human Services, to cease deducting
       union dues from Ms. Prokes’ wages when AFSCME Council 5 received
       Ms. Prokes’ letter, on or around July 16, 2018, in which Ms. Prokes
       resigned as an AFSCME Council 5 member and requested that
       AFSCME Council 5 immediately stop deducting union dues from her
       wages.

       Consequently, AFSCME Council 5 immediately will inform Scott
       County Health and Human Services to cease deducting union dues
       from Ms. Prokes’ wages. In addition, AFSCME Council 5 promptly
       will refund to Ms. Prokes all union dues deducted from her paychecks
       since July 16, 2018, plus the four-percent interest rate set forth in
       Minn. Stat. § 549.09. (The refund will include any dues that might be
       deducted in forthcoming pay periods, in the event that Scott County
       Health and Human Services should be unable to immediately cease the
       deductions.)
See Exhibit 12.
    30. The union’s voluntary cessation of these unconstitutional payroll deductions
after Ms. Prokes filed her lawsuit does not moot Ms. Prokes’s claims for declaratory
or injunctive relief. See United States v. W.T. Grant Co., 345 U.S. 629, 632 (1953)
(“[V]oluntary cessation of allegedly illegal conduct does not deprive the tribunal of




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power to hear and determine the case, i.e., does not make the case moot.”); City of
Mesquite v. Aladdin’s Castle, Inc., 455 U.S. 283, 289 (1982) (“[A] defendant’s vol-
untary cessation of a challenged practice does not deprive a federal court of its power
to determine the legality of the practice.”). Nor does it prevent Ms. Prokes from rep-
resenting the class of AFSCME members whose resignations were not promptly ac-
cepted or honored. See Campbell-Ewald Co. v. Gomez, 136 S. Ct. 663 (2016).
2. Randall C. Eason
    31. Mr. Eason, like Ms. Prokes, opposed and continues to oppose the payment
of fees to AFSCME Council 5 and its affiliates.
    32. Mr. Eason joined AFSCME Council 5 and Local 221 at the outset of his
employment because he was led to believe that union membership was a mandatory
condition of his job. Mr. Eason was never informed of his constitutional right to de-
cline union membership and pay a reduced amount in “fair-share service fees,” and
he did not become aware of this right until after the Supreme Court announced its
ruling in Janus.
    33. After Janus, Mr. Eason repeatedly informed the union that he wanted to

resign his membership and halt the payment of dues. The union, however, has refused
to honor Mr. Eason’s request and continues to take membership dues from his

paycheck.
    34. During the summer of 2018, the union president and vice-president told
Mr. Eason during a face-to-face encounter that he could not quit the union unless he
did so during a 5-day opt-out window that comes around once per year. Mr. Eason
asked these union officers when that 5-day window was. They told Mr. Eason that
they would get back to him with that information, but they never did.
    35. Later that summer, Mr. Eason called the union and asked over the phone
when his annual 5-day opt-out window would occur. The union representative on the




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phone told Mr. Eason that the union would get back to him with that information,
but they never did.
    36. To this day, Mr. Eason is unaware of when his 5-day opt-out window begins
and ends, and the union has failed to provide that information despite his repeated
requests.
    37. Mr. Eason remains a union member against his will, and the union contin-
ues to tap his paycheck for membership dues even though Mr. Eason has clearly com-
municated his desire to resign from the union and stop all union-related deductions
from his paycheck.
3. Thomas P. Piekarski
    38. Mr. Piekarski also opposes the compulsory payment of dues to the union.
About four years ago he reluctantly agreed to serve as the President of Local 221 after
someone nominated him for the job. But he resigned after less than two months be-
cause he was disillusioned with the union’s leadership and with what he regarded as
their misuse of union funds.
    39. On October 3, 2017, Mr. Piekarski e-mailed the union and demanded that

they switch him to “fair-share fees,” in accordance with his constitutional rights under
Abood v. Detroit Board of Education, 431 U.S. 209 (1977). When his initial e-mail

was returned as undeliverable, he re-sent the e-mail to Erica Kantola, the field repre-
sentative for Local 221, and Eliot Seide, the executive director of AFSCME Council
5, on October 4, 2017. See Exhibit 8. The e-mail read as follows:


       This is Tom Piekarski from Local 221. I would like to have my dues
       switched to Fare Share ASAP.

       Also, I would like to know what dues will be.

       Any questions/concerns, let me know.

       Thanks.


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       Tom Piekarski
See Exhibit 8.
    40. Instead of promptly implementing Mr. Pierkarsi’s instructions, the union
did everything possible to delay and thwart his efforts to switch to fair-share fees. On

October 9, 2018, Erica Kantola wrote back to Mr. Piekarski and said: “Hi Tom, I am
the new Field Rep for Local 221. I received your request to change to a fee payer.
Would you be willing to talk to me a bit about the issues that are driving your re-
quest?” See Exhibit 9. On October 13, 2018, Ms. Kantola e-mailed Mr. Pierkarsi again
and wrote:

       I left you a voicemail yesterday but I wanted to follow up with you to
       make sure we got this taken care of. When we spoke I had told you I
       needed to make sure of the need for the request to come with an orig-
       inal signature. That has been confirmed by membership.

       You can either print your email and sign it or write a separate note with
       your signature. That can be faxed, scanned and emailed or dropped off
       at the Council 5 office. As soon as I get that I can process your request
       to change your membership status.
See Exhibit 9.
    41. Mr. Piekarski protested that he had already submitted a signed copy of his
previous e-mail requesting a switch to fair-share fees, as he had been instructed to do

by the union, and that Ms. Kantola’s demand for an additional signed document was
unnecessary and unreasonably burdensome. He wrote:

       First and foremost, that is not what I was originally instructed to do. I
       sent copies of the the emails with Nick Zellmer (member of the e-
       board) to drop off, my signature is on it. I signed it and want my fare
       share dated back to 10/3/17, when I originally sent the email, like I
       was instructed to do.

       This is totally BS. I am sure if I was to go full share, you would probably
       come right to the shop, just like Bryce did when trying to sign the 1
       year card. You can’t go by an email, but you can go by a fax? Excuse
       me, but I think my email is more secure than a fax. Local 221 obviously



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       has my email address and phone number for verification. How would
       you verify I faxed it? This to me is just a way to delay going fare share.
       My fare share is started 10/3/17, like the original email or I am re-
       questing a refund. And yes, like I said, many more are to follow.
See Exhibit 9.
    42. Ms. Kantola responded to this e-mail and said: “Please submit the request
so I can process your request to change your membership status.” See Exhibit 9.
    43. On October 25, 2017, Mr. Piekarski e-mailed Ms. Kantola an attached doc-

ument with his signature, requesting a switch to fair-share fees. See Exhibit 10. Mr.
Piekarski said in the e-mail: “This is dated back to 10/3/17, from when I originally
requested this as I was instructed to do so. Any additional charges from that date, I
want refunded.” See Exhibit 10.
    44. On October 26, 2017, Ms. Kantola replied to Mr. Piekarski and wrote: “I
have submitted your request to membership today.” See Exhibit 10.
    45. Despite Ms. Kantola’s assurance that she had forwarded Mr. Piekarski’s
signed request, the union took no action and continued to collect full membership
dues from Mr. Piekarski’s paycheck.
    46. On July 9, 2018, after the Supreme Court’s ruling in Janus and more than
nine months after Mr. Piekarski had first requested to switch to fair-share fees, Mr.
Piekarski e-mailed Michael Lindholt, the AFSCME field representative, along with

Brian Lindholt and Nate Smith, and wrote:

       Well my expectations were wrong, it did not get done by Christmas. In
       fact, nothing has been done yet, not that I am aware of. Erica had re-
       ceived the document last fall and was to have forwarded it on. I even
       gave a copy to Nick Zellmer with my signature requesting fair share.

       I do expect a full refund dating back to October 3, 2017, when this
       whole thing started. If you can not refund, I would like to know why?

       You want to talk about it, I am open. Tomorrow is out, I am having
       surgery. From Wednesday, 7/11/18 and on, I am available.




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       Let me know what is going to be done.
See Exhibit 9.

    47. On July 11, 2018, Mr. Michael Lindholt replied to Mr. Piekarski and wrote:

       Let me look into this Tom as the Temp field rep for local 221 and get
       some background information on this as well as to what happened in
       this e mail the images you sent came through as Facebook and you tube
       gifs. I am defiantly willing to discuss if your still open to it. But with
       bargaining and my assignments I won’t be available until after next
       week if that will still work plus give you time to recoupe from surgery
       hope all goes well. I also apologize for the delay in response as I’m on
       a leave of absence until dec on lost time as a field rep for council 5 so
       I’m not in this e mail much
See Exhibit 9.
    48. On August 9, 2018, Mr. Piekarski e-mailed Michael Lindholt, Brian Lind-
holt, and Nate Smith once again and wrote: “Who do I need to contact to get this
resolved. This is almost a year old now. Let me know, thanks.” See Exhibit 9.
    49. Having received no response, Mr. Piekarski e-mailed John Westmoreland of
AFSCME on August 12, 2018, and included his previous e-mail correspondence re-
garding his efforts to resign from the union and halt the payment of membership
dues. He wrote:

       If you look at the previous messages, not sure what or who to contact
       to go fare share. I am willing to bet that if I wanted to go full share,
       you would be at Camden MNDOT shop Monday night to get me to
       sign.

       Let me know what needs to be done. So far, I have heard NOTHING
       from anyone since July 11, 2018. I am looking for a refund dated back
       to 10/3/2017, like in the original email.
       Let me know, thanks.
See Exhibit 9.
    50. On August 12, 2019, Mr. Westmoreland replied to Mr. Piekarski’s e-mail
and wrote:




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       I appreciate the history provided in this email chain, however the fact
       still remains we do not have a signed statement from you withdrawing
       from membership. In the end that is the one thing required to comply
       with your request.

       To assure this is resolved, send a signed request to Bart Andersen and
       it will processed upon receipt. If you have any evidence a signed request
       was submitted to Council 5 previously, provide that to Bart Andersen
       as well. We can then process the second request of your email.

       I have copied Bart Andersen, Council 5 Field Director in this email
       along with Tim Henderson, Council 5 Associate Director and Mike
       Lindholt, Field Representative to assure you have the proper contact
       information.
See Exhibit 9.
    51. On August 12, 2019, Mr. Piekarski wrote back to Mr. Westmoreland, ex-
plaining that he had already turned in a signed document expressing his desire to
terminate his union membership and halt the payment of dues:

       John, my first question is. . . . Did you read through all the emails?

       I made a call to council 5 on OCT 3. 2017. They said to send an email
       to council5@afscme.org, which I did, and it bounced back as invalid
       address. Then I contacted Erica Kantola on 10/5/17. Now it seems
       the process has changed.

       So, on Oct 14, 2017, at 9:42pm, I sent the following email:

       It is as follows:

       On Oct 14, 2017, at 9:42 PM, "piekarski2" wrote:
       First and foremost, that is not what I was originally instructed to do. I
       sent copies of the the emails with Nick Zellmer (member of the e-
       board) to drop off, my signature is on it. I signed it and want my fare
       share dated back to 10/3/17, when I originally sent the email, like I
       was instructed to do.

       This is totally BS. I am sure if I was to go full share, you would probably
       come right to the shop, just like Bryce did when trying to sign the 1
       year card. You can’t go by an email, but you you can go by a fax? Excuse
       me, but I think my email is more secure than a fax. Local 221 obviously



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       has my email address and phone number for verification. How would
       you verifiy I faxed it? This to me is just a way to delay going fare share.
       My fare share is started 10/3/17, like the original email or I am re-
       questing a refund. And yes, like I said, many more are to follow.

       Like I told Bryce, if there was no union, I know I would have a JOB,
       would you?

       Thanks, but no thanks.

       Tom Piekarski
       [redacted]

       Now, I handed my request and signature off to a person who was on
       the Local 221 E-board to drop off.

       All this verification, signatures, etc. is just a ploy to keep me paying dues
       instead of going fare share. You have my email, my phone number, my
       address, my social security number, where I work, what time I work,
       what shop I work at, etc., what more do you need? Like I said before,
       if I wanted to go full share, I bet someone would be at my shop the
       very next day. Also, you might think about doing electronic signatures,
       save everyone a lot of time, hassle, and money.

       One last thing. Another member got fare share near the same time I
       requested mine. All the person did was send in an email. Why did that
       request work and not mine?

       Let me know, thanks.

       Tom Piekarski
See Exhibit 9.
    52. On August 13, 2018, Mr. Westmoreland replied to Mr. Piekarski and wrote:

       Tom,

       I did read the email chain you sent me. We have one process for with-
       drawal and to this point do not have a signed request from you.

       I provided the answer to resolve your request. Since this was the initial
       answer you received, it should be clear phone calls and emails are insuf-
       ficient.



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       You may continue to debate this or get a signed request to Bart Ander-
       sen.
See Exhibit 9.
    53. On August 13, 2018, Mr. Piekarski replied to Mr. Westmoreland and wrote:

       A couple of things.

       One, I handed a signed request to Nick Zellmer, who was on the E-
       board at that time, to turn it in. I would think that was sufficient
       enough.

       Two, how come another person at or near the same time, did not have
       to go through this whole ordeal of going fare share?

       Three, send someone from local 221 to the Camden MNDOT shop
       this week, I work the graveyard shift, 7:00 pm to 5:30 am, Monday-
       Wednesday. I will have the signed statement for you, back dating it to
       10/3/17.

       Four, it was clear in the beginning on my initial phone call, to send an
       email..

       Five, I have to assume that this will be back dated to 10/3/17. If any
       different, please let me know and why. Thanks,

       Tom Piekarski
See Exhibit 9.

    54. Mr. Westmoreland replied to this e-mail and wrote: “I have provided you
with the information to resolve your issue. Do with it what you will.” See Exhibit 9.
    55. On August 14, 2018, Mr. Piekarski forwarded to Mr. Westmoreland the e-
mail he had sent to Erica Kantola on October 26, 2017, which included an attached
document with his signature demanding a switch from full membership dues to fair-
share fees. See Exhibit 10. Mr. Piekarski wrote in this e-mail: “I think the email below




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is proof enough that I submitted the document with the verification from Erica Kan-
tola. If there are any issues with reimbursements and back dating to 10/3/17, please
let me know.” See Exhibit 10.
    56. Having heard nothing in response to this e-mail, Mr. Piekarski e-mailed the
union officials against on August 24, 2018, and wrote: “Just wondering the status of
this. I have not heard a word from anyone. This is going on 6 weeks now since the
first email. Let me know, thanks.” See Exhibit 10.
    57. The union finally stopped tapping Mr. Piekarski’s paycheck in September
2018 — nearly a year after he had first requested a halt to membership dues. See Ex-
hibit 11.

     COUNT NO. 1—UNCONSTITUTIONAL AGENCY SHOP:
      REFUND OF PRE-JANUS COMPULSORY PAYMENTS
    58. The compelled subsidy that each of the plaintiffs was forced to pay to
AFSCME Council 5 and its affiliates prior to Janus violated their constitutional
rights — regardless of whether they chose to remain in the union and pay full mem-
bership dues (as the plaintiffs did) or resign their membership and pay “fair-share fees”
(as others had done).

    59. The plaintiffs had no choice in whether to pay the union before Janus. Their
only choice was whether to join the union and pay full membership fees, or decline
union membership and pay a slightly reduced amount in “fair-share fees.” Public em-
ployees such as Ms. Prokes, Mr. Eason, and Mr. Piekarski — who did not wish to join
or pay the union yet became members on account of the compulsory “agency shop”
arrangements — were compelled to pay the portion of their membership dues equal
to the amount of “fair-share fees” that were imposed on every employee in their bar-
gaining unit regardless of whether they joined the union.




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    60. The Supreme Court’s ruling in Janus is fully retroactive. See Harper v. Vir-
ginia Dep’t of Taxation, 509 U.S. 86, 96 (1993) (“[A] rule of federal law, once an-
nounced and applied to the parties to the controversy, must be given full retroactive
effect by all courts adjudicating federal law.”).
   61. The unions defendants were acting under color of state law by enforcing these
unconstitutional agency shops, in accordance with the laws of Minnesota that author-
ize agency-shops. See Minn. Stat. § 179A.06(3) (Exhibit 1); Lugar v. Edmondson Oil
Co. Inc., 457 U.S. 922 (1982).
    62. The union defendants therefore violated 42 U.S.C. § 1983 by enforcing
these unconstitutional agency shops, and the plaintiffs and their fellow class members
are entitled to a refund in the amount of the “fair-share fees” or the compelled portion
of union-membership dues that they were forced to pay to the union against their will
and in violation of their constitutional rights.
    63. The affirmative defense of qualified immunity is categorically unavailable to
private entities such as labor unions. See Wyatt v. Cole, 504 U.S. 158, 161 (1992).
    64. Even if the unions could somehow assert an affirmative defense of qualified

immunity or “good faith,” those defenses can provide immunity only from money
damages, and they do not confer immunity when a plaintiff seeks equitable monetary

relief such as backpay, restitution, or unjust enrichment, which the representative
plaintiffs and their fellow class members are asserting here. See Wood v. Strickland, 420
U.S. 308, 315 n.6 (1975), overruled in part on other grounds, Harlow v. Fitzgerald,
457 U.S. 800 (1982) (“[I]mmunity from damages does not ordinarily bar equitable
relief as well.”). A defendant is never permitted to keep property that it took in good
faith but in violation of another’s rights — even when the property was taken in good-
faith reliance on a statute or court order believed to be constitutional at the time.
Property that is seized pursuant to a statute that is later declared unconstitutional




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must always be returned to its rightful owner, even if the property was confiscated in
good faith.
       65. Taxes that are collected pursuant to a state statute that is later declared un-
constitutional must be refunded to any taxpayer who sues within the relevant statute
of limitations — even if the taxes were collected in good faith before the judicial pro-
nouncement of unconstitutionality. See Harper v. Virginia Dep’t of Taxation, 509
U.S. 86 (1993); James B. Beam Distilling Co. v. Georgia, 501 U.S. 529 (1991).
       66. Property seized pursuant to a replevin statute that is later declared uncon-
stitutional must be returned to the original owner — even if the person seizing the
property is allowed to assert a “good faith” defense to any collateral damage that he
might have inflicted during the unconstitutional seizure. See Wyatt v. Cole, 994 F.2d
1113, 1115 (5th Cir. 1993).
       67. When fines are collected pursuant to a statute that is later declared
unconstitutional, the government must return those fines — even if the fines were
collected in good faith and in reasonable reliance on a statute that was believed to be
constitutional at the time. See United States v. Lewis, 478 F.2d 835, 846 (5th Cir.

1973); Neely v. United States, 546 F.2d 1059, 1061 (3d Cir. 1976); DeCecco v.
United States, 485 F.2d 372, 372–73 (1st Cir. 1973); Pasha v. United States, 484

F.2d 630, 632–33 (7th Cir. 1973).
       68. Crime victims who are awarded restititution from a convict must return that
money if the statute on which the conviction was based is later declared
unconstitutional. See United States v. Venneri, 782 F. Supp. 1091, 1092 (D. Md.
1991).
       69. The plaintiffs’ demand for a refund of this unconstitutionally collected
money is indistinguishable from the cases described above. The union must return
this     unconstitutionally   taken   property,   just   as   defendants   must    return
unconstitutionally collected taxes, unconstitutional fines, and unconstitutionally


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forfeited property — regardless of whether they acted in good-faith reliance on statutes
or court decisions that purported to authorize their conduct. Neither qualified
immunity nor the “good faith” defense will ever allow a defendant to be enriched by
his inadvertent constitutional violations, and they do not provide a defense when a
plaintiff asserts claims for restitution of property that was seized in violation of his
rights.
   70.    In all events, the union defendants expected the Supreme Court to overrule
Abood in Janus, so the union defendants cannot assert that they acted in accordance
with a subjective “good faith” belief that the Supreme Court would approve the le-
gality of their actions. AFSCME President Lee Saunders, for example, has publicly
stated that he “expected” the Supreme Court to rule agency shops unconstitutional
in Janus. See https://www.afscme.org/now/unions-arent-going-anywhere (“The
court, as expected, ruled against us in Janus last summer”) (last visited on April 1,
2019).
   71.    The Janus ruling and the proceedings leading up to it have caused AFSCME
and its leaders to repeatedly attack the integrity of the judicial system and United

States Supreme Court:
          a.   When the Supreme Court granted certiorari in Janus, AFSCME, in a

               joint statement with the National Education Association (NEA), the
               American Federation of Teachers (AFT), and the Service Employees
               International Union (SEIU), called the Janus case “a blatantly political
               and well-funded plot to use the highest court in the land to further rig
               the   economic    rules   against   everyday   working    people.”   See
               https://bit.ly/2TVrKqv (last visited April 1, 2019).
          b.   When the Supreme Court announced its ruling in Janus, AFSCME
               President Lee Saunders said: “Today’s Supreme Court decision makes
               it perfectly clear working people can’t get a fair hearing before today’s


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               corporate controlled Supreme Court. . . . From the very beginning, the
               Janus case was about one thing and one thing only: corporate CEOs
               and wealthy special interests rigging the economy even more in their
               favor. Today the Supreme Court has shown that it is part of a rigged
               system that benefits the wealthiest Americans and no one else.” See
               https://bit.ly/2tSr9e6 (last visited April 1, 2019).
          c.   When the United States Supreme Court ruled in Janus, AFSCME, in a
               joint statement with NEA, AFT, and SEIU claimed that “billionaire
               CEOs and corporate special interests . . . succeeded in manipulating the
               highest   court   in    the   land    to   do    their   bidding.”    See
               https://bit.ly/2MxkrRy (last visited April 1, 2019).
    72. Ms. Prokes, Mr. Eason, and Mr. Piekarski are suing on behalf of all public
employees who were compelled to subsidize AFSCME Council 5 or its affiliates
against their will on account of these unconstitutional agency-shop arrangements. The
class includes: (1) non-members of AFSCME Council 5 who were compelled to pay
“fair-share fees” to the union; (2) employees who opposed payments to the union but

who reluctantly joined because they decided that the difference between the cost of
full membership dues and the mandatory “fair-share fees” would not have been worth

the loss of their voice and vote in collective-bargaining matters; and (3) employees
who opposed payments to the union but who joined because they were never in-
formed of their constitutional right to decline union membership and pay a reduced
amount in “fair-share fees.” The class includes anyone who has ever fallen within this
definition, including former and retired employees, and it includes anyone who comes
within the class definition at any time before the conclusion of this action.
    73. The representative plaintiffs have Article III standing to bring these claims.
They have suffered injury in fact because they were forced to pay money to AFSCME
Council 5 and its affiliates as a condition of their employment. The injury was caused


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by the unconstitutional behavior of the defendants, and the injury will be redressed
by a refund of the money that the union unconstitutionally extracted from the repre-
sentative plaintiffs and their fellow class members.

   CLAIM NO. 2 — UNCONSTITUTIONAL GARNISHMENT OF
                   WAGES POST-JANUS
    74. The unions have violated each of the representative plaintiff’s constitutional
rights by refusing to promptly honor and implement their requests to resign from the
union and halt the payment of membership dues.
    75. Janus holds that public-employee unions are forbidden to collect money
from a nonmember’s wages unless the employee “clearly and affirmatively consent[s]
before any money is taken.” Janus, 138 S. Ct. at 2486.
    76. A public employee has a constitutional right to resign his union membership
at any moment. See Abood v. Detroit Board of Education, 431 U.S. 209 (1977)).
    77. Ms. Prokes ceased to be a member of AFSCME Council 5 and its affiliates
when the union received her resignation letter on July 16, 2018. Mr. Piekarski ceased
to be a member when he e-mailed the union on October 3, 2017, to inform them
that he wanted to switch to fair-share fees. Mr. Eason ceased to be a member when

he informed union officials in person and over the phone that he no longer wanted
to be a member.
    78. Any post-Janus money that the unions took from Ms. Prokes, Mr. Eason,
Mr. Piekarski, or any other public employee who had previously informed the union
of their desire to terminate their union membership or halt the payment of member-
ship dues, violated their constitutional rights and must be returned.
    79. The unions’ post-Janus defiance of the plaintiffs’ instructions to terminate
their union membership and halt the payroll deductions of union dues exposes the
unions to punitive damages.




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    80. Ms. Prokes, Mr. Eason, and Mr. Piekarski are suing on behalf of all employ-
ees in bargaining units represented by AFSCME Council 5 or its affiliates who, at any
time after Janus: (1) informed the union that they wished to terminate their union
membership or the payroll deduction of union fees; and (2) had union fees diverted
from their paycheck after informing the union of their desire to terminate their union
membership or halt the diversion of union fees. The class includes anyone who comes
within the class definition at any time before the conclusion of this action.

 COUNT NO. 3 — UNCONSTITUTIONAL REFUSAL TO ACCEPT
    MR. PIEKARSKI’S PRE-JANUS RESIGNATION FROM
                    MEMBERSHIP
    81. In October of 2017, Mr. Piekarski informed the union that he wanted to
resign his membership and switch to “fair-share fees,” consistent with his constitu-
tional rights under Abood.
    82. The union’s refusal to promptly accept and implement Mr. Piekarski’s res-
ignation from membership, and their insistence that Mr. Piekarski take the needlessly
burdensome steps of repeatedly submitting a hand-signed letter, violated Mr. Pie-
karski’s constitutional rights.
    83. The union must refund to Mr. Piekarski the difference between full mem-
bership dues and “fair-share fees” that it improperly took from his paycheck between

October 3, 2017, and June 27, 2018, the date on which Janus was announced. The
union must also refund all money that it took from Mr. Piekarski’s paycheck after
June 27, 2018.
    84. Mr. Piekarski is suing on behalf of all employees in bargaining units repre-
sented by AFSCME Council 5 or its affiliates who, at any time before Janus: (1) in-
formed the union that they wished to terminate their union membership or switch to
payment of “fair-share fees”; and (2) whose instructions were not promptly honored




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and implemented, retroactive to the date on which they first informed the union that
they no longer wished to pay full membership dues.

                       COUNT NO. 4 — NEGLIGENCE
    85. The union defendants owe the plaintiffs and their class members a duty of
care to promptly accept and implement their resignations from union membership
and their requests to halt the payroll deduction of membership dues, without requir-
ing public employees to retain counsel and sue to ensure that the union honors their
instructions.
    86. AFSCME Council 5, Local 2440, and Local 221 breached their duty of care
to each of the representative plaintiffs by refusing to promptly accept and implement
their resignations from union membership.
    87. The union is therefore liable to Ms. Prokes, Mr. Eason, and Mr. Piekarski —
and any other plaintiff or class member whose attempted resignation from the union
was disregarded — in an amount to be determined at trial.

 COUNT NO. 5 — CONVERSION AND TRESPASS TO CHATTELS
    88. Each plaintiff’s paycheck and the right to immediate possession thereof be-
longed to that plaintiff, and the union defendants wrongfully interfered with that right
by tapping those paychecks for membership dues.
    89. AFSCME Council 5 and its affiliates cannot defend their tortious behavior
by relying on Minn. Stat. § 179A.06(3), because the statute is unconstitutional and
unconstitutional statutes cannot confer immunity on tortious conduct. Nor can
AFSCME Council 5 and its affiliates defend themselves by claiming that the plaintiffs
“consented” to the payment of full membership dues. Any public employee who
agreed to union membership before Janus did so while working in an unconstitutional
agency shop, which compelled them to pay at least the amount of “fair-share fees”
whether they joined the union or not. A pre-Janus public employee who agreed to




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union membership consented to pay only the difference between full union dues and
the compulsory “representation fees” that would have been imposed had they refused
to join.
    90. The union defendants are therefore liable to the plaintiffs and class members
in an amount to be determined at trial.

                COUNT NO. 6 — UNJUST ENRICHMENT
    91. The plaintiffs and their fellow class members conferred substantial benefits
on the union defendants.
    92. It would be unjust for the union defendants to retain benefits for violating
the constitutional rights of the plaintiffs and their fellow class members.
    93. The plaintiffs and the class members are therefore entitled to equitable mon-
etary relief from the union defendants in the form of restitution, backpay, unjust en-
richment, replevin, detinue, or any other state-law cause of action that offers relief for
this unlawful seizure of their personal property.

   COUNT NO. 7 — DECLARATORY JUDGMENT REGARDING
     OPT-OUT WINDOWS AND MAINTENANCE-OF-DUES
                     PROVISIONS
    94. The plaintiffs seek a declaratory judgment that public employees have a con-
stitutional right resign from the union and halt the payment of membership dues at

any moment, and that any union-imposed “opt-out” window that limits this consti-
tutional right is unconstitutional and void.
    95. The plaintiffs also seek a declaration that any “maintenance of dues” agree-
ment that forbids public employees to quit the union and terminate financial support
unless they do so during a union-defined “opt-out window” is unenforceable and
void. A public employee has the constitutional right to revoke his or her union mem-
bership and union-related payments at any time, and this right cannot be limited by a
union-imposed “opt-out window.” Any public-employee union that requires its




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members to waive or limit their constitutional rights as a condition of union member-
ship is creating an illegal tie-in arrangement that misuses the monopoly power that
the union has been granted by the State. A public-employee union may no more re-
quire its members to waive or limit their Janus rights than it may require them to
waive or limit their right to practice their religion or their right to keep and bear arms.
    96. In addition, any “maintenance of dues” agreement that was signed before
Janus is not a valid agreement to continue paying membership dues in a right-to-work
environment. When Ms. Prokes signed her supposed “maintenance of dues” agree-
ment, she did so while working in an unconstitutional agency shop, which compelled
her to pay at least the amount of “fair-share fees” to the union whether she joined or
not. Ms. Prokes’s pre-Janus consent to union membership — and her supposed con-
sent to this “maintenance of dues” agreement that was imposed as a condition of
union membership — was made under unconstitutional compulsion, and the union
never secured Ms. Prokes’s freely given consent to pay full membership dues in a
right-to-work setting where employees have the right to withhold all financial support
from the union.

    97. Finally, the “maintenance of dues” agreement that Ms. Prokes signed is in-
valid and unenforceable because Ms. Prokes was compelled to sign it as a condition

of her employment with the Minnesota Department of Corrections.
    98. The plaintiffs respectfully ask the Court to declare annual “opt-out” win-
dows and “maintenance of dues” agreements unenforceable and enjoin the defend-
ants from enforcing them.

  COUNT NO. 8 — FAILURE TO INFORM PUBLIC EMPLOYEES
   OF THEIR CONSTITUTIONAL RIGHTS, AND FAILURE TO
  SECURE FREELY GIVEN AND FULLY INFORMED CONSENT
    99. Mr. Eason has never provided his freely given and fully informed consent to
the payment of union membership dues.




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    100. Mr. Eason was never even told that he had a choice to decline union mem-
bership and pay a reduced amount in “fair-share fees” before Janus, and he did not
learn about this option until after Janus was decided.
    101. And in all events, Mr. Eason “agreed” to become a union member and pay
membership dues while working in an unconstitutional agency shop, where he was
compelled to pay at least the amount of “fair share fees” to the union regardless of
whether he joined. An employee who joins the union under these circumstances has
consented to pay only the difference between full membership dues and the “fair share
service fees” that would have been imposed whether they joined the union or not. An
employee’s agreement to pay that difference does not represent “consent” to pay full
membership dues in a right-to-work situation.
    102. Finally, a waiver of constitutional rights cannot be presumed, and must be
“freely given and shown by ‘clear and compelling’ evidence.” Janus, 138 S. Ct. at
2486. The union cannot continue tapping Mr. Eason’s plaintiffs’ paycheck — or any
other employee’s paycheck — unless it can show that the employee has waived his
constitutional right to withhold payments to a public employee union, and such a

waiver must be “freely given and shown by ‘clear and compelling’ evidence.” Janus,
138 S. Ct. at 2486. The unions cannot make this showing when Mr. Eason was nei-

ther informed nor aware of his constitutional right to decline union membership when
he joined the union. Nor can the unions make this showing when Mr. Eason joined
the union at a time when employees who declined union membership were subjected
to an unconstitutional financial penalty. A person who is told, “Sign this contract or
else I will take $500 per year from your paycheck,” and then signs the contract in
response to this “offer,” has not made a freely given or legally valid waiver of his
constitutional right to decline union membership. See Brady v. United States, 397
U.S. 742, 748 (1970) (“Waivers of constitutional rights not only must be voluntary




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but must be knowing, intelligent acts done with sufficient awareness of the relevant
circumstances and likely consequences.”).
    103. The unions therefore cannot treat Mr. Eason’s pre-Janus decision to join
the union as a “freely given” waiver of his constitutional right to withhold payments
to the union in a post-Janus, right-to-work setting. Any such waiver of a public em-
ployee’s Janus rights must be fully informed, freely given, and shown by clear and
compelling evidence. See Janus, 138 S. Ct. at 2486.
    104.   Mr. Eason is suing on behalf of all employees in bargaining units repre-
sented by AFSCME Council 5 or its affiliates who: (1) want to resign or have at-
tempted to resign their union membership and terminate financial support of the un-
ion; or (2) would choose to leave or would have chosen to leave the union and ter-
minate financial support if they were fully informed of their constitutional right to do
so; or (3) would decline to opt in to union membership by providing “clear and af-
firmative assent” if they were fully informed of their constitutional rights under Janus.
The class includes anyone who comes within the class definition at any time before
the conclusion of this action.

    105. Mr. Eason seeks an injunction that prevents the union defendants from
deducting or collecting union membership dues from the paychecks of public em-

ployees until that employee provides written consent to those payroll deductions that
post-dates the Supreme Court’s ruling in Janus and that includes the following lan-
guage: “I understand that I am not required to join the union or pay money to the
union as a condition of my employment. I further understand that a have a constitu-
tional right to withhold all monetary payments to the union simply by resigning my
union membership, and I understand that the union owes me a duty of fair represen-
tation regardless of whether I remain a member of the union or give money to the
union. Nevertheless, I am freely choosing to waive my constitutional rights under the




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Supreme Court’s ruling in Janus v. American Federation of State, County, and Mu-
nicipal Employees, Council 31, 138 S. Ct. 2448 (2018), and I knowingly and freely
consent to union membership and to the payroll deduction of union membership
dues. I understand that I may revoke my consent to the payroll deductions of union
membership dues at any time by notifying my employer’s payroll department in per-
son, in writing, or over e-mail.”

                             PROPOSED CLASSES
    106. The plaintiffs respectfully request that the court certify:
           a. a defendant class of all AFSCME Council 5 affiliates, represented by
              AFSCME Local 2440 and AFSCME Local 221;
           b. a class of all public employees who were compelled to subsidize
              AFSCME Council 5 or its affiliates against their will on account of these
              unconstitutional agency-shop arrangements. The class includes: (1)
              non-members of AFSCME Council 5 who were compelled to pay “fair-
              share fees” to the union; (2) employees who opposed payments to the
              union but who reluctantly joined because they decided that the differ-
              ence between the cost of full membership dues and the mandatory “fair-
              share fees” would not have been worth the loss of their voice and vote
              in collective-bargaining matters; and (3) employees who opposed pay-
              ments to the union but who joined because they were never informed
              of their constitutional right to decline union membership and pay a re-
              duced amount in “fair-share fees.”
           c. a class of all employees in bargaining units represented by AFSCME
              Council 5 or its affiliates who, at any time after Janus: (1) informed the
              union that they wished to terminate their union membership or the

              payroll deduction of union fees; and (2) had union fees diverted from




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                their paycheck after informing the union of their desire to terminate
                their union membership or halt the diversion of union fees.
             d. all employees in bargaining units represented by AFSCME Council 5
                or its affiliates who, at any time before Janus: (1) informed the union
                that they wished to terminate their union membership or switch to pay-
                ment of “fair-share fees”; and (2) whose instructions were not promptly
                honored and implemented, retroactive to the date on which they first
                informed the union that they no longer wished to pay full membership
                dues.

                             DEMAND FOR RELIEF
    107. The plaintiffs respectfully request that the court:
        a.       award damages or equitable monetary relief as set forth in this com-
                 plaint;
        b.       grant the equitable relief set forth in this complaint;
        c.       grant the declaratory judgments set forth in this complaint;
        d.       grant the injunctions set forth in this complaint;
        e.       award pre-judgment and post-judgment interest;
        f.       award costs and attorneys’ fees under 42 U.S.C. § 1988 and any other
                 applicable statute or rule of law or equity;
        g.       grant all other relief that the Court deems just, proper, or equitable.




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                                         Respectfully submitted.

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                         CERTIFICATE OF SERVICE
    I certify that on April 1, 2019, I served this document through CM/ECF upon:

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